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                            Exhibit A
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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

STEVEN HOTZE, M.D., WENDELL
CHAMPION, HON. STEVE TOTH, and
SHARON HEMPHILL;

       Plaintiffs,

v.

CHRIS HOLLINS, in his official capacity as     Case No.: 4:20-CV-03709
Harris County Clerk;

       Defendant.

                     THE LINCOLN PROJECT AMICUS BRIEF
                         IN SUPPORT OF DEFENDANT


       The Lincoln Project respectfully submits this amicus curiae brief in opposition

to Plaintiffs’ requested relief and in support of the Defendant.

                                   INTRODUCTION

       The Lincoln Project is an organization composed of Republicans, former

Republicans and conservatives dedicated to defeating candidates who have

abandoned their constitutional oath, regardless of party. To achieve that purpose,

The Lincoln Project has created a broad coalition of supporters and volunteers across

the country. Many of its supporters live in Harris County, Texas. The Lincoln Project

has put its organization to work contacting, surveying, communicating with and

mobilizing voters. To those ends, The Lincoln Project has invested significant

resources in the State of Texas and Harris County in particular. The relief sought by

Plaintiffs threatens to undermine much of the work The Lincoln Project has engaged
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in and disenfranchise voters supporting their mission within Harris County. While

the Defendant represents a significantly different interest than The Lincoln Project,

any relief granted against him would have a significant and irreparable impact on

The Lincoln Project and its supporters in Harris County.

                                        ARGUMENT

I.     Background.

       A.      The COVID-19 pandemic.

       The global COVID-19 pandemic affects every aspect of life. As of October 31st,

more than 46,196,000 people have tested positive for COVID-19 worldwide,

9,130,4821 in the United States and 932,261 in Texas.2 The devasting illness has cost

18,465 Texans their lives.3 Harris County alone accounts for 161,613 cases and 2,809

deaths,4 greater numbers than 27 states. The public health crisis has been declared

both a national emergency and a public health disaster by the State of Texas. The

danger of serious illness and death is amplified for older individuals and becomes

particularly worrisome for those over the age of 65. Spread most easily in enclosed

areas with large crowds, the illness presents a particular threat to voters gathering

at indoor polling locations.




1 Johns Hopkins University of Medicine, COVID-19 Dashboard by the Center for Systems Science and
Engineering at Johns Hopkins, https://coronavirus.jhu.edu/map.html last visited November 1, 2020.
2 Johns Hopkins University of Medicine, Coronavirus Resource Center,

https://coronavirus.jhu.edu/region/us/texas last visited November 1, 2020.
3 Id.
4 Johns Hopkins University of Medicine, Coronavirus Resource Center, https://bao.arcgis.com/covid-

19/jhu/county/48201.html last visited November 1, 2020.

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      Due to these realities, many supporters of The Lincoln Project likely cast their

ballots at drive-thru polling places. The relief sought by Plaintiffs would

disenfranchise those voters by rejecting valid votes cast.

      The Lincoln Project also believes that many remaining supporters will be

burdened by the closure of drive-thru polling places on Election Day. For those

residents of Harris County who have been unable to vote to date, the drive-thru

polling places may represent the safest option for those concerned about their health.

Changing the locations of established polling places a day before Election Day could

chill these voters by both adding to the confusion of voting on Election Day and

subjecting them to long, indoor lines that threaten their health.

      B.     Traditional Republican history of expanding voting rights and access to
             the ballot.

      Beginning with the Republican Party’s first president, and The Lincoln

Project’s namesake, the Republican Party historically fought to expand equal rights,

including at the ballot box. In the aftermath of the Civil War, Republicans sponsored

and passed three constitutional amendments during Reconstruction: the Thirteenth

Amendment (prohibiting slavery), the Fourteenth Amendment (barring states from

denying equal protection of the laws), and the Fifteenth Amendment (dictating that

the right to vote could not be denied on the basis of race). A half century later,

Republicans were critical to passing the Nineteenth Amendment (prohibiting

disenfranchisement based on sex).

      Of course, the rights guaranteed by those constitutional provisions still needed

to be vindicated and Republicans traditionally stood at the vanguard. For example,


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Republicans aided the effort of future U.S. Supreme Court Justice Thurgood Marshall

when he challenged the Democratic Party’s “white primary” in Texas. Considered by

Justice Marshall as the most important case he ever argued,5 Smith v. Allwright6

centered on the right of an African-American in Harris County to vote.

       It is in that proud tradition that The Lincoln Project have engaged in their

efforts to help register, educate, and inform Texans seeking to cast their ballots. It is

in that tradition of expanding access to the ballot that The Lincoln Project files this

amicus curiae brief in support in opposition to Plaintiffs’ requested relief.

       C.      The Lincoln Project.

       Founded less a year ago, The Lincoln Project grew swiftly in prominence

among conservatives as it harnessed the sentiments of Republicans and former

Republicans disaffected by the current administration and Congressional enablers.

Best known for producing powerful videos and commercials, The Lincoln Project has

supplemented those efforts with a substantial field operation in targeted states,

including Texas. Harris County has been a focal point for those efforts.

       Founders of The Lincoln Project have run multiple Republican gubernatorial,

senatorial, and presidential campaigns throughout their careers. Several have

longstanding ties to Texas. For example, founder John Weaver is a native Texan,

attended Texas A&M University and helped lead the campaigns of President George

H.W. Bush, Senator John McCain and Governor John Kaisch. Weaver also worked


5 Pamela S. Karlan, Ballots and Bullets: The Exceptional History of the Right to Vote, 71 U. Cin. L.
Rev. 1345, 1356 n. 69 (2003) (citing Alexander Keyssar, The Right to Vote: The Contested History of
Democracy in the United States 248 (2000)).
6 Smith v. Allwright, 321 U.S. 649 (1944).


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for several Republican members of Congress from Texas and served as the executive

director for the Republican Party of Texas. Similarly, Reed Galen is a graduate of the

University of Texas and a political strategist who helped guide the campaigns of

President George W. Bush, Senator John McCain and Governor Arnold

Swarzenegger. Other founders have had equally prestigious careers working as

Republican operatives. That experience has made them experts in reviewing voting

patterns, engagement models and turnout strategies.

       The Lincoln Project has put that expertise to work in Harris County over the

past several months. Field staff and organizers have developed leadership teams in

Harris County working on various programs to register voters, educate them on the

process of voting, and communicate with those who support their preferred

candidates. As the Dallas Morning News reported, in recent weeks The Lincoln

Project has bolstered its mobilization efforts in Hispanic communities, spent nearly

a million dollars in Texas and committed another million-dollar investment into its

efforts in the state.7 Throughout that process, The Lincoln Project has encouraged its

supporters to cast ballots early through means that maximize their health safety.

Those efforts have included directing supporters to cast early ballots at drive-thru

polling places in Harris County.




7Jeffers Jr., Gromer, Lincoln Project plans Texas offensive against Republican Donald Trump, steps
up Hispanic outreach, Dallas Morning News (Oct. 6, 2020, 5:30 AM),
https://www.dallasnews.com/news/politics/2020/10/06/lincoln-project-plans-texas-offensive-against-
republican-donald-trump-steps-up-hispanic-outreach/ last visited Oct. 6, 2020.


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        Through its leadership teams and field staff, The Lincoln Project has targeted

voters it has identified as Republicans or former Republicans who support their

preferred candidates. Because Texans must either vote in a party primary8 or take

an oath of affiliation9 to join a political party, and because that affiliation

automatically expires at the end of every calendar year,10 it requires both substantial

skill and expertise to identify and target voters. However, given the background of its

founders and an investment of resources in Harris County, The Lincoln Project has

been able to make high quality estimates for its voter engagement programs. Those

estimates in turn inform The Lincoln Project’s belief that granting Plaintiffs’ request

for relief would disenfranchise a significant number of its supporters.

II.     Effect of Plaintiffs’ Request for Relief on Conservative Voters

        Republican and former Republican voters tend to be older and more susceptible

to the health risks associated with the COVID-19 pandemic. Consequently, they are

also more likely to take advantage of safer voting options, such drive-thru polling

places. Rejecting votes cast at drive-thru polling places would have a disproportionate

negative impact on likely Republican voters.

        The Lincoln Project voter analysis combined both past party affiliation (voting

in any of the past three Republican primaries) and additional demographic data to

determine that 169,511 likely Republican voters over the age of 65 live in Harris

County.11 While the raw numbers are smaller than the number of likely Democratic


8 Tex. Elec. Code Ann. § 162.003.
9 Tex. Elec. Code Ann. §§ 162.006 and 162.007.
10 Tex. Elec. Code Ann. § 162.010.
11 See Appendix I.


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voters in Harris County, the percentage of this subset among total likely Republican

is greater. Likely Republican voters 65 or older account for 28.6% of all likely

Republican voters in Harris County. A similar subset among Democrats equates to

only 18.6% percent. Against this backdrop, The Lincoln Project expects that the

percentage of Republican voters seeking safe voting methods, including drive-thru

polling places, would constitute a significant number of total votes.

         Currently, 1,417,568 voters have cast absentee or early ballots in Harris

County. Of that number, the two oldest age brackets – and the most susceptible to

severe health threat from the COVID-19 pandemic – constitute 27.60% (ages 50-64)

and 23.27% (age 65+) of the total votes in Harris County. It should not come as a

shock that these age brackets sought out safer alternatives than in-person Election

Day voting.

         The Lincoln Project’s estimated subset of likely Republican voters within the

total who have already cast ballots is 572,000, or 40.4% of the total number of ballots

cast within Harris County to date. Extrapolating from that number, The Lincoln

Project estimates that of the roughly 127,000 voters who cast ballots at drive-thru

polling places, approximately 51,300 were likely Republicans (127,000 x 40.4%).

         Should the Court grant the Plaintiffs’ requested relief, that would mean

rejecting the votes of at least 51,300 likely Republicans in Harris County. Such relief

would effectively disenfranchise tens of thousands of likely Republican voters,

including many supporters of The Lincoln Project, across the county.

III.     The Southern District Should Defer to the Texas Supreme Court’s
         Decision on this Matter of State Law.


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          The Plaintiffs have brought three similar claims before the Texas Supreme

Court. On all three occasions, most recently on November 1, 2020, the Texas Supreme

Court has rejected the Plaintiffs’ requests for relief. Because the definition of polling

place and the Defendant’s ability to determine the locations of polling places within

his jurisdiction both constitute matters of state law, this Court should defer to the

state court’s prior decisions. Such deference would be in line with the conservative

legal ideology that The Lincoln Project promotes, allowing states to self-govern with

minimal interference from the federal government, including the federal judiciary.


                                     CONCLUSION

          For the reasons argued above, The Lincoln Project respectfully urges this Court

to deny the declaratory and injunctive relief prayed for by the Plaintiffs.

Dated: November 1, 2020                   Respectfully submitted,

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12   Pro hac vice motion pending.

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                              Certificate of Service

       I certify that a true and accurate copy of the foregoing document was filed
electronically (via CM/ECF) on November 1, 2020, and that all counsel of record were
served by CM/ECF.


                                      /s/ Jacob Monty




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                                 Appendix I

             The Lincoln Project Voter Analysis - Harris County

Total Voters
   • Total Likely Republicans: 592,230
   • Total Likely Democrats: 1,120,077

65+ Voters
   • 65+ - Likely Republican affiliated voters: 169,511
         o 28.6% of Harris County Likely Republican affiliated voters are 65+
   • 65+ - Likely Democrat affiliated voters: 207,895
         o 18.6% of Harris County Likely Democrat affiliated voters are 65+

COVID-19
  • Total COVID Cases in Harris County: 160,984 positive infection tests
       o COVID Deaths in Harris County: 2,806 deaths

Early Voters (Absentee or In-Person) Cast to Date

 Age Group                  Total Votes                Percentage of Votes
 18-29                      215,271                    15.19%
 30-39                      241,593                    17.04%
 40-49                      239,506                    16.90%
 50-64                      391,287                    27.60%
 65+                        329,911                    23.27
 TOTAL                      1,417,568                  100.00%




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